     Case 3:07-cr-00121-ADC-JA    Document 827    Filed 01/18/08   Page 1 of 19



1                       IN THE UNITED STATES DISTRICT COURT
2                         FOR THE DISTRICT OF PUERTO RICO

3
       UNITED STATES OF AMERICA,
4
5      Plaintiff

6      v.                                               CRIMINAL 07-0121 (ADC)
7
       [37] EMMANUEL TORRES SUÁREZ,
8
       Defendant
9
10
                   MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION
11
                                     I. INTRODUCTION
12
13          On March 19, 2007, a grand jury indicted 42 individuals charging them with

14   knowingly and intentionally conspiring, combining, and agreeing with each other
15
     and with others known and unknown to the grand jury to knowingly and
16
     intentionally possess with intent to distribute in excess of one kilogram of heroin,
17
18   in excess of five kilograms of cocaine, in excess of 50 grams of cocaine base, and

19   in excess of one hundred kilograms of marijuana. Evidence which the United
20
     States seeks to introduce into evidence against Emmanuel Torres Suárez was
21
     seized on July 31, and October 22, 2003. This matter is before the court on
22
23   motion to suppress that evidence. The motion to suppress was filed by co-

24   defendant Emmanuel Torres Suárez on November 16, 2007. (Docket No. 623.)
25   The United States filed a motion in opposition on December 14, 2007. (Docket
26
     No. 721.)
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     Case 3:07-cr-00121-ADC-JA   Document 827    Filed 01/18/08   Page 2 of 19



1    CRIMINAL 07-0121 (ADC)                 2
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                                        II. FACTS
4
           The facts to follow were derived from the defendant’s motion to suppress.
5
6    According to the defendant, police officers intervened with him, searched him and

7    the premises where he was located, and on both occasions seized narcotics from
8
     him. The officers did not have a search warrant, and arguably did not have
9
     probable cause to arrest him.
10
11         The officers arguably saw the defendant conducting a drug transaction. On

12   October 22, 2003, the officers arguably saw him holding a plastic bag which
13
     arguably contained narcotics, while he was standing on a third floor balcony. The
14
     defendant attested on November 16, 2007 that on July 31, 2003, he was residing
15
16   at the Jardines de Guamaní Housing Project, Building 1, Apartment 5, and that at

17   about 2:00 P.M. he exited the apartment and was walking toward the second
18
     entrance to the housing project when he was ordered to stop by police officers.
19
     He was then pushed against a patrol car and searched, and then beaten.
20
21   Neighbors began to yell for them to leave him alone. Some neighbors were then

22   arrested and charged. The defendant was charged with possession with intent to
23
     distribute narcotics to another person, Edward Duprey. The defendant alleges
24
     that there was no probable cause to detain or arrest him, and denies delivering
25
     any narcotics to anyone.
26
27
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     Case 3:07-cr-00121-ADC-JA    Document 827    Filed 01/18/08   Page 3 of 19



1    CRIMINAL 07-0121 (ADC)                 3
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           On October 22, 2003, at about noon, the defendant was at home when
4
     there was a knock at the door. He opened the door partially and saw an officer
5
6    in the Special Operations Unit. He asked the agent if he had a search warrant,

7    and as the agent tried to force his way in, the defendant was able to close the
8
     door. Moments later, an agent broke the lock of the door with a sledgehammer.
9
     Close to twelve agents came into the apartment and started to beat him. He was
10
11   thrown to the floor and handcuffed. The agents started to search the apartment

12   and the defendant asked them if they had a search warrant. His mother arrived
13
     fifteen minutes later. An agent told her that they were entering the housing
14
     project and saw the defendant on the balcony of the third floor apartment holding
15
16   a plastic bag containing what they believed were drugs. The agents searched for

17   about 40 minutes and found nothing.        They then pulled out the toilet in the
18
     bathroom. They took him to police headquarters and took the toilet in a different
19
     police car. At the police station, they broke the toilet with a sledgehammer and
20
21   a plastic bag containing cocaine and marijuana showed up. The defendant was

22   then charged. The defendant denies having a bag on the balcony.
23
                                 III. FACTUAL BACKGROUND
24
           At the evidentiary hearing held on January 14, 2008, Officer Tommy
25
     Hernández Santiago, badge No. 21254, testified that he is a police officer in
26
27   Puerto Rico and has been so for 13 years. He presently works at the illegal

28
     Case 3:07-cr-00121-ADC-JA    Document 827    Filed 01/18/08   Page 4 of 19



1    CRIMINAL 07-0121 (ADC)                   4
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     weapons division. In 2003, he was assigned to the Special Operations Unit in
4
     Guayama, and had been assigned to the division for five or six years. He worked
5
6    primarily on places of high drug incidents and drug points. The division members

7    would conduct surveillance and conduct searches.
8
           On the morning of October 22, 2003, he clocked in and while having lunch
9
     with other agents, he finished and returned to the Special Operations Unit office
10
11   to pick up some records to return to the courthouse. One of the officers had to

12   summons a person at the Jardines de Guamaní Housing Project. Riding in an
13
     official vehicle, at the first entrance to the project, they turned right. Referring
14
     to Exhibit 1, he explained how the agents (José Báez driving, and Marilyn Torres
15
16   in the back of the car, a Crown Victoria marked car) arrived at the first entrance

17   (the one closest to Road No. 3). He noticed two individuals and then saw the
18
     defendant coming down the stairs of the first building with a clear ziplock bag, 6"
19
     x 6" in his hands about 30 to 40 feet away.        The officer could see cylinder
20
21   containers with black caps with white dust, apparently cocaine, and clear reddish

22   plastic small bags. The defendant looked up from looking at the bag and saw the
23
     officers. Officer Hernández told Officer Báez to stop the car. Officer Hernández
24
     got out of the car and started running after the defendant. The defendant also
25
     ran and got up to the third floor, and the agent caught up to him. They both
26
27   struggled at the door to the defendant’s apartment. The defendant entered the

28
     Case 3:07-cr-00121-ADC-JA    Document 827    Filed 01/18/08   Page 5 of 19



1    CRIMINAL 07-0121 (ADC)                  5
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     apartment and the officer then entered behind him. They both struggled at the
4
     bathroom door, and then entered the bathroom. Once inside the bathroom, the
5
6    defendant dropped the bag into the toilet and flushed the water tank. Everything

7    took one to two minutes. After the defendant flushed the toilet in the bathroom,
8
     the agent pulled the defendant out of the bathroom and placed him under arrest.
9
     The officer then radioed and said he needed support. Officer Báez arrived soon
10
11   thereafter as well as other units. Officer Hernández then called his supervisor to

12   inform him. The defendant’s mother then arrived, and officer Hernández left the
13
     apartment and went to the management office of the project to ask for permission
14
     to remove the toilet. The officers would flush the toilet and the water would not
15
16   go down so the drugs were still there. The toilet bowl was then removed and

17   taken in the same vehicle as the defendant to the police headquarters. In the
18
     defendant’s presence, the toilet was cracked open and the agents were able to
19
     seize the same plastic bag that was dropped in the toilet.
20
21         Referring to Exhibits 2, 3, and 4, Officer Hernández noted the location where

22   the bag was stuck in one of the curves of the toilet. Exhibit 3 shows him taking
23
     out the bag containing the controlled substances. Exhibit 4 shows the controlled
24
     substances seized and $127 taken from the defendant. Once the bag was seized,
25
     the evidence was taken to drugs headquarters at Guayama and field tests were
26
27
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     Case 3:07-cr-00121-ADC-JA    Document 827    Filed 01/18/08   Page 6 of 19



1    CRIMINAL 07-0121 (ADC)                  6
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     performed, which tests proved positive for cocaine and marijuana. The drugs
4
     were then secured.
5
6          Agent Marilyn Torres intervened with the two young men whom Officer

7    Hernández first sighted, but no charges were brought as to them because the
8
     prosecutor declined. One of those men was called Eli, a name the officer did not
9
     recall mentioning in a sworn statement given in Guayama. The officer explained
10
11   that if a search warrant were to have been sought, the defendant would have

12   been able to get rid of the contraband. Officer Hernández has worked in Guayama
13
     for eight years and has been to the Jardines de Guamaní Housing Project many
14
     times. Prior to this time, the officer does not remember intervening with the
15
16   defendant although he has done so after this occasion. When he first saw the

17   defendant, the defendant was located in front of the stairs of the first building
18
     and was close to the last step at the bottom. The officers were not conducting
19
     surveillance at the time although when Officer Hernández enters a housing
20
21   project, he always looks at the drug points (which move around) for his own

22   security and that of his fellow officers. When the car stopped, the officer got out
23
     and started running and so did the defendant, both running toward the third floor.
24
     The officer wore black BDU (battle dress uniform) and lightweight boots. The
25
     officer first reached the defendant at the door to the defendant’s apartment. Once
26
27   the defendant was placed under arrest, Officer Hernández called Agent Báez using

28
     Case 3:07-cr-00121-ADC-JA    Document 827     Filed 01/18/08   Page 7 of 19



1    CRIMINAL 07-0121 (ADC)                   7
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     a portable police radio to call him. The officer also had a 9mm pistol with him,
4
     which he never took out of his holster. Officer Báez arrived within seconds of
5
6    being called, and was in front of the stairwell when called. The other agents

7    arrived minutes later. Officer Hernández denied having to break the door to enter
8
     the apartment. The apartment was not searched. The Jardines de Guamaní
9
     Housing Project is about five minutes from the courthouse, maybe less. Nobody
10
11   decided to seek a search warrant. The situation did not warrant seeking a search

12   warrant, in Officer Hernández’ mind.
13
           Referring to December 16, 2003, and Officer Hernández’ testimony at a
14
     suppression hearing held in local court, the officer did not recall such hearing. The
15
16   officer did not recall being confronted with the evidence that the door had been

17   broken with a sledgehammer. Referring to Exhibit A, Officer Hernández did not
18
     recall being confronted with the door being broken with a sledgehammer, and did
19
     not recall testifying in a hearing of the Guayama Superior court. Referring to I.D.
20
21   B, Officer Hernández reviewed the same, saw his name in the minutes of

22   December 16, 2003 and yet did not recall testifying at such hearing in front of a
23
     judge named Israel Hernández González.
24
           Defense counsel walked to the exit of courtroom and Officer Hernández said
25
     he was about that distance from the defendant when first sighted. The officer
26
27
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     Case 3:07-cr-00121-ADC-JA   Document 827    Filed 01/18/08   Page 8 of 19



1    CRIMINAL 07-0121 (ADC)                  8
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     testified that he could see the content of the transparent bag. The smaller bags
4
     inside the larger one were 1" x 1", transparent and reddish.
5
6          Irving O’Fray Vázquez, FBI agent, testified in relation to a Guayama case

7    about facts which occurred on October 22, 2003. The agent testified that some
8
     time ago he received certified copies of court documents regarding this defendant
9
     and the same reflect that in regards to the events which occurred on that date,
10
11   the defendant pleaded guilty. Looking at I.D. B, the agent reviewed the same.

12   He noted that the minutes he reviewed talked about all of the defendant’s cases.
13
     He could not identify I.D. B. The defendant pleaded guilty to simple possession
14
     in the local cases.
15
16         Police Officer Harold Ortiz testified that he has been a policeman for 21

17   years and is assigned to Arroyo. In 2003, he worked in Guayama at Special
18
     Operations, and his duties included making protective rounds, seizures and the
19
     surveillance of drug points. On July 31, 2003, he started work at 6:00 A.M. at the
20
21   Special Operations Unit. At about 1:00 P.M., he met with Sergeant Rodríguez to

22   give surveillance at the Jardines de Guamaní Housing Project. They went to a
23
     location to observe the drug point (making reference to the right side corner of
24
     the project in Exhibit 1) which drug point moves and is not in one place. From
25
     outside the housing project, they looked through binoculars to see what was
26
27   going on. The officers saw a man in a red T-shirt carrying a transparent bag with

28
     Case 3:07-cr-00121-ADC-JA   Document 827    Filed 01/18/08   Page 9 of 19



1    CRIMINAL 07-0121 (ADC)                 9
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     cylinders with purple caps about 60 or 70 feet away. A man in a white T-shirt
4
     gave a man in a blue shirt some money. The man in the blue shirt then called the
5
6    defendant. The man in the red T-shirt had the clear plastic bag. He then got

7    close to the men wearing white and blue, and took from the transparent bag one
8
     or two cylindrical containers and gave them to the man with the white T-shirt who
9
     then walked away. Then another man arrived, wearing a striped shirt, gave
10
11   money to the man in the blue shirt, who in turn called the man in red, who

12   appeared with a man wearing a gray T-shirt. The man in red reached into the
13
     clear bag, and took out a cylinder or cylinders and gave the same to the man in
14
     the striped shirt. The man in red was dealing the drugs; this was the defendant.
15
16   Officer Ortiz then gave the ok for the officers to arrest the people for drug

17   transactions.   The defendant   hid in the stairwell between the two buildings.
18
     There were five or six persons. There were six to nine agents supporting the
19
     action. Others were in patrol cars at a distance. All the people were arrested by
20
21   the police, who came into the project through the fence. The defendant was also

22   arrested. Officer Ortiz later saw the defendant at the Special Operations Unit.
23
     Officer Laboy was the one who placed him under arrest.
24
           On cross-examination, Officer Ortiz noted that he had never given
25
     surveillance to the Jardines de Guamaní Housing Project before, although he knew
26
27   the place from making preventive rounds. He did not know how far away the

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     Case 3:07-cr-00121-ADC-JA   Document 827    Filed 01/18/08   Page 10 of 19



1    CRIMINAL 07-0121 (ADC)                 10
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     other agents were from him. Officer Ortiz got out of the van noting the top of
4
     Exhibit 1 at the end of the road and walked to the surveillance point (through the
5
6    brush) which is not difficult since he was raised in the country. It took about 15

7    minutes to get to the surveillance point. The radio that he used was a regular
8
     police phone and he used it with head phones. The surveillance lasted a total of
9
     40 to 45 minutes. Officer Ortiz had previously seen the defendant, about one or
10
11   two weeks before. When he left the area, about half-way to road No. 3, he

12   recalled hearing a 10-30 (officer needs assistance) where a riot was occurring.
13
     He left the area walking and was picked up (at bottom of Exhibit 1, near road No.
14
     3). He was 200-300 feet away from the riot but had no visibility of the area
15
16   because of the buildings.   He did not go to help in the riot so as not to be

17   discovered. By the time he got to road No. 3, the riot was over and the officers
18
     had left.
19
           Officer Javier Laboy Montáñez testified that he has been a policeman for 13
20
21   ½ years and is with Guayama homicide.         In 2003, he was with the Special

22   Operations Unit in Guayama. In particular on July 31, 2003, he became familiar
23
     with the defendant. He began working at 6:00 A.M. At 1:00 P.M., Sergeant
24
     Rodríguez gave instructions to conduct a surveillance at a drug point at Jardines
25
     de Guamaní Housing Project, also known as El Drive-In.         After planning the
26
27   surveillance, the agents were driven nearby and at about 2:10 P.M. they went to

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     Case 3:07-cr-00121-ADC-JA   Document 827     Filed 01/18/08   Page 11 of 19



1    CRIMINAL 07-0121 (ADC)                  11
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     the drug point, located at the first floor apartment of the corner building (Exhibit
4
     1), right. He proceeded to the end of the street and they all walked through the
5
6    bushes and he got to a position near the drug point. Officer Laboy listened to

7    Agent Ortiz who was surveilling and was in the best location. At 2:15 P.M., Officer
8
     Laboy heard that Ortiz had seen a drug transaction. He said the main pusher had
9
     a red and black polo, long blue jeans, was dark skin, tall, and skinny; another
10
11   man was wearing a blue T-shirt, thin, and another man was wearing a grey T-

12   shirt, multi-color cap, and blue jeans, and the last two helped the man wearing
13
     the red polo in conducting the drug transactions. The one with the white T-shirt
14
     and blue jeans had left the drug point. At 2:20 P.M., Ortiz said that another man
15
16   had arrived, wearing a striped T-shirt, and long jeans. The man in grey handed

17   over drugs. Officer Ortiz said to arrest them all. The officers placed them under
18
     arrest. Officer Laboy arrested the man in the red polo, the defendant, as well as
19
     the man in a grey T-shirt.     Officer Laboy also seized a clear plastic bag, 25
20
21   transparent cylinders, with purple caps, with crack inside. The man in grey was

22   carrying $150 on him. There were many people involved, about 15 to 20 persons.
23
     There were seven to nine agents on surveillance, and five or six that arrived.
24
     From beginning to end, the entire incident took 50 minutes to an hour. After
25
     positioning, he heard Officer Ortiz five minutes later.
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     Case 3:07-cr-00121-ADC-JA    Document 827     Filed 01/18/08   Page 12 of 19



1    CRIMINAL 07-0121 (ADC)                   12
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           On cross-examination, Officer Laboy noted that there was a riot after they
4
     were arrested and before getting to the drug division in Guayama. There was a
5
6    total of five minutes of surveillance altogether. Harold Ortiz saw it. Officer Laboy

7    made the arrest with “transferred motive (motivo transferido),” that is based upon
8
     the probable cause established by Officer Ortiz’ observations. Making reference
9
     to I.D. C, his own sworn statement, it is noted that Officer Ortiz took charge of the
10
11   investigation because he was the best located, and that at 2:15 P.M., Officer Ortiz

12   let them know that the pusher was tall, thin, wearing a red/black short sleeve
13
     polo, long jeans, of dark complexion (tez trigueña oscura), and that he had sold
14
     drugs to the man wearing jeans and a white T-shirt, who later left the place.
15
16   Officer Ortiz did not give a description of the impressive tattoos on both arms of

17   the defendant, as observed in court.
18
           The officer explained that the residents wanted to take the detainees away
19
     from them, something which is normal since they always want to do that. They
20
21   said that those people (the detainees) were living there. Officer Laboy left with

22   the detainees when the riot started and did not recall if the rioters were arrested.
23
           The United States ripostes to the argument of the defendant that on July 31,
24
     2003, the defendant was spotted conducting a drug transaction in the Jardines de
25
     Guamaní Housing Project. He immediately attempted to flee. The police initiated
26
27   a pursuit and the defendant ran into an apartment. The officer following him

28
     Case 3:07-cr-00121-ADC-JA   Document 827     Filed 01/18/08     Page 13 of 19



1    CRIMINAL 07-0121 (ADC)                  13
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     entered the apartment in hot pursuit to conduct the arrest. The defendant was
4
     arrested and charged. On October 22, 2003, he was again observed committing
5
6    a felony.

7          Both scenarios reflect the daily rigors and challenges of being a policeman
8
     in Puerto Rico and scenes that might be considered worthy of being performed in
9
     movie theaters are daily played out on the streets.           With this in mind, it is
10
11   important to determine “whether there is such a compelling necessity for

12   immediate action as will not brook the delay of obtaining a warrant.” United
13
     States v. Adams, 621 F.2d 41, 44 (1st Cir. 1980). “To effectuate this inquiry, we
14
     consider factors such as the following: ‘the gravity of the underlying offense;
15
16   whether delay poses a threat to police or the public safety; whether there is a

17   great likelihood that evidence will be destroyed if there is a delay until a warrant
18
     can be obtained.’” United States v. Curzi, 867 F.2d 36, 41-42 (1st Cir. 1989)
19
     (quoting United States v. Veillette, 778 F.2d 899, 902 (1st Cir. 1985)).
20
21                            IV. EXIGENT CIRCUMSTANCES

22         The United States argues in one case that the agents were in hot pursuit of
23
     the defendant justifying the failure to secure a search warrant for the toilet. In
24
     Mincey v. Arizona, 437 U.S. 385, 393 (1978), the court acknowledged the right
25
26   of police to respond to emergency situations “threatening life or limb” indicating

27   that police may conduct a warrantless search provided that the search is “strictly
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     Case 3:07-cr-00121-ADC-JA    Document 827     Filed 01/18/08   Page 14 of 19



1    CRIMINAL 07-0121 (ADC)                   14
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     circumscribed by the exigencies which justify its initiation.” Id. (quoting Terry v.
4
     Ohio, 392 U.S. 1, 25-26 (1968)), cited in Georgia v. Randolph, 547 U.S. 103, 113
5
6    n.3 (2006). “Exigent circumstances” have traditionally been found in those crisis
7    situations “when there is compelling need for official action and no time to secure
8
     a warrant.”   Michigan v. Tyler, 436 U.S. 499, 509 (1978) (citing Warden v.
9
     Hayden, 387 U.S. 294 (1967)); see United States v. Irizarry, 673 F.2d 554, 557-
10
11   58 (1st Cir. 1982). In determining whether there is an exigency sufficient to

12   justify a warrantless search and seizure, the test is “whether there is such a
13
     compelling necessity for immediate action as will not brook the delay of obtaining
14
     a warrant.” United States v. Adams, 621 F.2d at 44. “The inquiry is necessarily
15
16   ‘fact-based.’” United States v. Donlin, 982 F.2d 31, 34 (1st Cir. 1992), abrogated

17   on other grounds by Georgia v. Randolph, 547 U.S. 103 (2006), (quoting United
18
     States v. Beltrán, 917 F.2d 641, 642 (1st Cir. 1990)). “Factors [the court] must
19
     consider include the gravity of the underlying offense, whether a delay would pose
20
21   a threat to police or the public safety, and whether there is a great likelihood that

22   evidence will be destroyed if the search is delayed until a warrant can be
23
     obtained.” United States v. Wilson, 36 F.3d 205, 209-10 (1st Cir. 1994) (citing
24
     United States v. Baldacchino, 762 F.2d 170, 176 (1st Cir. 1985)); see United
25
26   States v. Curzi, 867 F.2d at 39.

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     Case 3:07-cr-00121-ADC-JA    Document 827      Filed 01/18/08   Page 15 of 19



1    CRIMINAL 07-0121 (ADC)                    15
2
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           “There are four recognized categories of exigent circumstance: ‘(1) “hot
4
     pursuit” of a fleeing felon; (2) threatened destruction of evidence inside a
5
6    residence before a warrant can be obtained; (3) a risk that the suspect may

7    escape from the residence undetected; or (4) a threat, posed by a suspect, to the
8
     lives or safety of the public, the police officers, or to [himself].’” Fletcher v. Town
9
     of Clinton, 196 F.3d 41, 49 (1st Cir. 1999) (quoting Hegarty v. Somerset County,
10
11   53 F.3d 1367, 1374 (1st Cir. 1995)); see United States v. Martins, 413 F.3d 139,

12   146-47 (1st Cir. 2005). While the exigencies herein were the product of a fast-
13
     moving scenario and the government can rely on the exigent circumstances
14
     exception to justify the warrantless entry into the apartment, as in a scenario
15
16   which I considered recently in another case,         “Time was ample; manpower

17   abounded; the premises were surrounded and secured; . . . the drama was being
18
     played out during daylight hours and in an urban setting. All in all, the situation
19
     was in good control.      There is simply no credible evidence to suggest that
20
21   obtaining a search warrant would have increased the risk of violence, escape, or

22   destruction of evidence-or even delayed the search.” United States v. Curzi, 867
23
     F.2d at 42. The agents could have applied for a search warrant prior to seizing
24
     the toilet bowl and taking it to the police station. The officer could also have
25
26   taken the toilet bowl out, secured the apartment and applied for a search warrant

27   from a judge at the courthouse which was five minutes or less away.                  A
28
     Case 3:07-cr-00121-ADC-JA    Document 827   Filed 01/18/08   Page 16 of 19



1    CRIMINAL 07-0121 (ADC)                 16
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     warrantless search is presumptively unreasonable under the Fourth Amendment.
4
     See California v. Acevedo, 500 U.S. 565, 593 (1991); see also United States v.
5
6    López, 380 F.3d 538, 543 (1st Cir. 2004). And of course, a warrantless search
7    may be conducted if an exception to the search warrant requirement exists. A
8
     search incident to an arrest has been recognized by the courts as a well settled
9
     exception to the search warrant requirement. United States v. Robinson, 414 U.S.
10
11   218, 224 (1973); United States v. Doward, 41 F.3d 789, 791 (1st Cir. 1994). The

12   Supreme Court has held “that a search ‘can be incident to an arrest only if it is
13
     substantially contemporaneous with the arrest and is confined to the immediate
14
     vicinity of the arrest.’”   Shipley v. California, 395 U.S. 818, 819-20 (1969)
15
16   (quoting Stoner v. California, 376 U.S. 483, 486 (1964)).         Nevertheless, a

17   warrantless search involving an intrusion into someone’s home is presumed
18
     unreasonable under the Fourth Amendment. Groh v. Ramírez, 540 U.S. 551, 559
19
     (2004); United States v. Tibolt, 72 F.3d 965, 968 (1st Cir. 1995). While it may
20
21   appear that an exception to the warrant requirement exists in the scenario played

22   out at the Jardines de Guamaní housing project, it did not. While it may be
23
     successfully argued that the officer was in hot pursuit of a fleeing felon, the
24
     pursuit was over, the felon secured, when the decision to take the toilet bowl was
25
26   made. Rather than seeking a search warrant for a destructive search or a seizure

27   warrant, the agent decided to go to the housing project administrator to get
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     Case 3:07-cr-00121-ADC-JA   Document 827     Filed 01/18/08   Page 17 of 19



1    CRIMINAL 07-0121 (ADC)                  17
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     permission to take the toilet rather than to ask someone in that apartment, like
4
     the defendant or his mother, its inhabitants, for permission to take the toilet,
5
6    futile as it might be. There was no threatened destruction of evidence inside the

7    residence before a warrant could be obtained. See United States v. Irizarry, 673
8
     F.2d at 559-60. The agent was certain the drugs were stuck in the toilet; the
9
     toilet could have been secured in the apartment, including lifting it off its base,
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11   and a search warrant could have been applied in order to conduct what the agent

12   obviously knew would be a destructive search. Rather, the agents asked a third
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     party who must have some ethereal connection to the toilet located inside the
14
     defendant’s apartment, for permission to take the toilet, convenient for the police
15
16   but contrary to the warrant requirement of the Fourth Amendment. The arresting

17   officer ignored the concept of any privacy expectation that the defendant had in
18
     his own toilet, reaching the anomalous conclusion that a project administrator had
19
     superior or equal dominion over the toilet than defendant or his mother.
20
21         Courts have adopted a two-prong test in determining whether a defendant

22   has standing to suppress evidence. See Smith v. Maryland, 442 U.S. 735, 740
23
     (1979).   A defendant has to demonstrate 1) “that he personally has an
24
     expectation of privacy in the place searched, and [2)] that his expectation is
25
26   reasonable.”   Minnesota v. Carter, 525 U.S. 83, 88 (1998).         Said subjective

27   expectation of privacy must be one that society is willing to recognize as
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     Case 3:07-cr-00121-ADC-JA    Document 827     Filed 01/18/08   Page 18 of 19



1    CRIMINAL 07-0121 (ADC)                   18
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     objectively reasonable. See United States v. Mancini, 8 F.3d 104, 107 (1st Cir.
4
     1993) (citing California v. Greenwood, 486 U.S. 35, 39 (1988)). The removal of
5
6    a toilet to conduct a destructive search as a matter of convenience goes against
7    the grain of the Fourth Amendment’s warrant requirement. Taking the toilet was
8
     an extreme intrusion into the Fourth Amendment rights of the defendant, a right
9
     which could have easily been preserved with the application for a search warrant.
10
11   See, e.g., United States v. López, 989 F.2d 24, 27 (1st Cir. 1993). There was no

12   risk that the defendant might escape from the residence undetected, and there
13
     was no threat posed by the defendant to the lives or safety of the public, the
14
     police officers, or to himself, related to the seizure of the toilet bowl.
15
16                                    V. CONCLUSION

17         In view of the above, I recommend that the motion to suppress be
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     GRANTED in relation to the October 22, 2003 seizure. In relation to the July 31,
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     2003 seizure, there was sufficient information in the collective knowledge of the
20
21   officers at the Jardines de Guamaní Housing Project to determine that a crime was

22   being committed and that the defendant was committing that crime. Therefore,
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     I recommend that the motion to suppress evidence seized on July 31, 2003 be
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     DENIED.
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           Under the provisions of Rule 72(d), Local Rules, District of Puerto Rico, any
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27   party who objects to this report and recommendation must file a written objection

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     Case 3:07-cr-00121-ADC-JA    Document 827    Filed 01/18/08   Page 19 of 19



1    CRIMINAL 07-0121 (ADC)                  19
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     thereto with the Clerk of this Court within ten (10) days of the party's receipt of
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     this report and recommendation. The written objections must specifically identify
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6    the portion of the recommendation, or report to which objection is made and the

7    basis for such objections.    Failure to comply with this rule precludes further
8
     appellate review.   See Thomas v. Arn, 474 U.S. 140, 155 (1985); Davet v.
9
     Maccorone, 973 F.2d 22, 30-31 (1st Cir. 1992); Paterson-Leitch Co. v. Mass. Mun.
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11   Wholesale Elec. Co., 840 F.2d 985 (1st Cir. 1988); Borden v. Sec’y of Health &

12   Human Servs., 836 F.2d 4, 6 (1st Cir. 1987); Scott v. Schweiker, 702 F.2d 13, 14
13
     (1st Cir. 1983); United States v. Vega, 678 F.2d 376, 378-79 (1st Cir. 1982); Park
14
     Motor Mart, Inc. v. Ford Motor Co., 616 F.2d 603 (1st Cir. 1980).
15
16         At San Juan, Puerto Rico, this 18th day of January, 2008.

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                                                      S/ JUSTO ARENAS
18
                                            Chief United States Magistrate Judge
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